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 5

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 7

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00044-SAB
12                                  Plaintiff,            STIPULATION FOR EXTENSION OF TIME FOR
                                                          PRELIMINARY HEARING PURSUANT TO RULE
13                            v.                          5.1(d) AND EXCLUSION OF TIME; ORDER
14   JOSE FIGUEROA &                                      DATE: May 21, 2020
     JOAQUIN VELASCO,                                     TIME: 2:00 p.m.
15                                                        COURT: Hon. Barbara A. McAuliffe
                                   Defendants.
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17
            Plaintiff United States of America, by and through its attorney of record, Assistant United States
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     Attorney ALEXANDRE DEMPSEY, and defendant JOSE FIGUEROA, both individually and by and
19
     through his counsel of record, CHRISTINA CORCORAN, hereby stipulate as follows:
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            1.        The Complaint in this case was filed on March 11, 2020, and defendant first appeared
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     before a judicial officer of the Court in which the charges in this case were pending on March 11, 2020.
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     The court set an original preliminary hearing date of March 25, 2020.
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            2.        On March 18, 2020 the parties jointly moved for an extension of time of the preliminary
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     hearing date to April 9, 2020. The Court granted that motion on March 19, 2020 and ordered that the
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     time between March 25, 2020 and April 9, 2020 be excluded from calculation pursuant to 18 U.S.C. §
26
     3161(h)(7)(A).
27
            3.        On April 3, 2020 the parties jointly moved for an extension of time of the preliminary
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     hearing date to April 23, 2020. The Court granted that motion on April 3, 2020 and ordered that the
      STIPULATION                                         1
                 Case 1:20-mj-00044-SAB Document 21 Filed 05/18/20 Page 2 of 5


 1 time between April 9, 2020 and April 23, 2020 be excluded from calculation pursuant to 18 U.S.C. §

 2 3161(h)(7)(A).

 3          4.       On April 17, 2020 the parties jointly moved for an extension of time of the preliminary

 4 hearing date to May 7, 2020. The Court granted that motion on April 17, 2020 and ordered that the time

 5 between April 23, 2020 and May 7, 2020 be excluded from calculation pursuant to 18 U.S.C. §

 6 3161(h)(7)(A).

 7          5.       On May 4, 2020 the parties jointly moved for an extension of time of the preliminary

 8 hearing date to May 21, 2020. The Court granted that motion on May 4, 2020 and ordered that the time

 9 between May 7, 2020 and May 21, 2020 be excluded from calculation pursuant to 18 U.S.C. §

10 3161(h)(7)(A).

11          6.       By this stipulation, the parties jointly move for an extension of time of the preliminary

12 hearing date to June 4, 2020, at 2:00 p.m., before the duty Magistrate Judge, pursuant to Rule 5.1(d) of

13 the Federal Rules of Criminal Procedure. The parties stipulate that the delay is required to allow the

14 defense reasonable time for preparation and review of discovery, and for the government’s continuing

15 investigation of the case. The parties further agree that the interests of justice served by granting this

16 continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §

17 3161(h)(7)(A).

18          7.       The parties agree that good cause exists for the extension of time, and that the extension

19 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

20 Therefore, the parties request that the time between May 21, 2020, and June 4, 2020, be excluded

21 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

22          IT IS SO STIPULATED.

23
     Dated: May 15, 2020                                      MCGREGOR W. SCOTT
24                                                            United States Attorney
25
                                                              /s/ ALEXANDRE DEMPSEY
26                                                            ALEXANDRE DEMPSEY
                                                              Assistant United States Attorney
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28
     Dated: May 15, 2020                                      /s/ CHRISTINA CORCORAN
       STIPULATION                                        2
            Case 1:20-mj-00044-SAB Document 21 Filed 05/18/20 Page 3 of 5

                                                CHRISTINA CORCORAN
 1                                              Counsel for Defendant
 2                                              JOSE FIGUEROA

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     STIPULATION                            3
              Case 1:20-mj-00044-SAB Document 21 Filed 05/18/20 Page 4 of 5

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:20-MJ-00044-SAB
11
                                   Plaintiff,             FINDINGS AND ORDER EXTENDING TIME FOR
12                                                        PRELIMINARY HEARING PURSUANT TO RULE
                            v.                            5.1(d) AND EXCLUDING TIME
13
     JOSE FIGUEROA &                                      DATE: May 21, 2020
14   JOAQUIN VELASCO,                                     TIME: 2:00 p.m.
                                                          COURT: Hon. Barbara A. McAuliffe
15                                Defendants.
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18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on May 15, 2020. The

20 Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests

24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.

27

28          THEREFORE, FOR GOOD CAUSE SHOWN:

      STIPULATION                                          4
                Case 1:20-mj-00044-SAB Document 21 Filed 05/18/20 Page 5 of 5


 1         1.       The date of the preliminary hearing is extended to June 4, 2020, at 2:00 p.m.

 2         2.       The time between May 21, 2020, and June 4, 2020, shall be excluded from calculation

 3 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 4         3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

 5
     IT IS SO ORDERED.
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 7     Dated:       May 15, 2020                             /s/ Barbara A. McAuliffe               _
                                                      UNITED STATES MAGISTRATE JUDGE
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      STIPULATION                                        5
